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                                   Jonathan F. Lenzner
                                   Acting United States Attorney
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Foreperson



Date: ________________________




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